 Case: 1:19-cv-00254-WOB-KLL Doc #: 1 Filed: 04/08/19 Page: 1 of 19 PAGEID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

FIRST FRANCHISE CAPITAL                   :
CORPORATION                               :
8888 Keystone Crossing, Ste. 1700         :
Indianapolis, IN 46240                    :                   1:19-cv-254
                                          :        Case No. _________________
               Plaintiff,                 :
                                          :        Judge ____________________
vs.                                       :
                                          :
PANDYA RESTAURANTS LLC                    :
121 Friends Lane, Suite 301               :
Newtown, PA 18940                         :
                                          :
      Copy to Registered Agent:           :
      c/o Corporation Service Company     :
      2595 Interstate Dr., Ste. 103       :
      Harrisburg, PA 17110                :
                                          :
and                                       :
                                          :
RONAK FOODS, LLC                          :
121 Friends Lane, Suite 301               :
Newtown, PA 18940                         :
                                          :
      Copy to Registered Agent:           :
      c/o Corporation Service Company     :
      2595 Interstate Dr., Ste. 103       :
      Harrisburg, PA 17110                :
                                          :
and                                       :
                                          :
JNP FOODS, LLC                            :
121 Friends Lane, Suite 301               :
Newtown, PA 18940                         :
                                          :
      Copy to Registered Agent:           :
      c/o Corporation Service Company     :
      2595 Interstate Dr., Ste. 103       :
      Harrisburg, PA 17110                :
                                          :
and                                       :
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SRI RAKTA, LLC                              :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
   Copy to Registered Agent:                :
   c/o Corporation Service Company          :
   2595 Interstate Dr., Ste. 103            :
   Harrisburg, PA 17110                     :
                                            :
and                                         :
                                            :
SRI BALAGANAPATI LIMTED                     :
LIABILITY COMPANY                           :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
  Copy to Registered Agent:                 :
  Krupa Patel                               :
  39 Mountainview Court                     :
  Totowa, NJ 07512-1654                     :
                                            :
and                                         :
                                            :
SRI CHATURBHUJ LLC                          :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
   Copy to Registered Agent:                :
   c/o Corporation Service Company          :
   2595 Interstate Dr., Ste. 103            :
   Harrisburg, PA 17110                     :
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and                                         :
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SRI DEVADEVA LLC                            :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   c/o Corporation Service Company          :
   2595 Interstate Dr., Ste. 103            :
   Harrisburg, PA 17110                     :
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and                                         :
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SRI MANOMAY LLC                             :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   c/o Corporation Service Company          :
   2595 Interstate Dr., Ste. 103            :
   Harrisburg, PA 17110                     :
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and                                         :
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SRI GUNINA, LLC                             :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   c/o Corporation Service Company          :
   2595 Interstate Dr., Ste. 103            :
   Harrisburg, PA 17110                     :
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and                                         :
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401 KOKOMO, LLC                             :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
                                            :
and                                         :
                                            :
839 GREENWOOD, LLC                          :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
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and                                         :
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1520 SHADELAND, LLC                         :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
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and                                         :
                                            :
2950 MADISON, LLC                           :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
                                            :
and                                         :
                                            :
3605 KENTUCKY, LLC                          :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
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and                                         :
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3807 WASHINGTON, LLC                        :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
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   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
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6742 82ND ST, LLC                           :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
   Copy to Registered Agent:                :
   Krupa Patel                              :
   504 W Race Street, Apt. A                :
   Portland, IN 47371                       :
                                            :
and                                         :
                                            :
WRIGHTSTOWN BURGERS LLC                     :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
  Copy to Registered Agent:                 :
  Krupa Patel                               :
  10 Morning Glory Lane                     :
  Ediston, NJ 08820                         :
                                            :
and                                         :
                                            :
2008 W OREGON AVE, LLC                      :
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
   Copy to Registered Agent:                :
   c/o Corporation Service Company          :
   2595 Interstate Dr., Ste. 103            :
   Harrisburg, PA 17110                     :
                                            :
and                                         :
                                            :
2105 BURLINGTON, LLC
121 Friends Lane, Suite 301                 :
Newtown, PA 18940                           :
                                            :
  Copy to Registered Agent:                 :
  Krupa Patel                               :
  62 Fort Dix St.                           :
  Wrightstown, NJ 08562                     :
                                            :
and                                         :
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PANDYA BURGERS OF ALABAMA                          :
LLC                                                :
121 Friends Lane, Suite 301                        :
Newtown, PA 18940                                  :
                                                   :
   Copy to Registered Agent:                       :
   Krupa Patel                                     :
   1813 Crestwood Blvd.                            :
   Irondale, AL 35210                              :
                                                   :
              Defendants.                          :


     COMPLAINT FOR MONEY DAMAGES AND APPOINTMENT OF RECEIVER


       For its complaint against defendants Pandya Restaurants LLC (“Pandya Restaurants”),

Ronak Foods, LLC (“Ronak”), JNP Foods, LLC (“JNP”), Sri Rakta LLC (“Rakta”), Sri

Balaganapati Limited Liability Company (“Balaganapati”), Sri Chaturbhuj LLC (“Chaturbhuj”),

Sri Devadeva LLC (“Devadeva”), Sri Manomay LLC (“Manomay”), Sri Gunina, LLC

(“Gunina”), 401 Kokomo, LLC (“Kokomo”), 839 Greenwood, LLC (“Greenwood”), 1520

Shadeland, LLC (“Shadeland”), 2950 Madison, LLC (“Madison”), 3605 Kentucky, LLC

(“Kentucky”), 3807 Washington, LLC (“Washington”), 6742 82nd ST, LLC (“82nd Street”),

Wrightstown Burgers LLC (“Wrightstown”), 2008 W Oregon Ave, LLC (“Oregon”), 2105

Burlington, LLC (“Burlington”), and Pandya Burgers of Alabama LLC (“Pandya Burgers,” and

collectively, “Defendants”), plaintiff First Franchise Capital Corporation (“FFCC”) alleges as

follows:

                               NATURE OF THE ACTION

       1.     This action arises out of Defendants’ ongoing breaches of a master loan

agreement and/or other agreements, instruments and documents that they executed in favor of




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FFCC in order to induce FFCC to lend nearly $20 million so that Defendants could operate

approximately seventy restaurants spread over four states.

       2.      Despite Defendants promising that all loan obligations would be completely

satisfied in a timely fashion, there have been multiple events of default to date including

Defendants’ failure to make necessary loan payments.

       3.      FFCC has attempted to work with Defendants and has given Defendants

additional time to satisfy their obligations, but Defendants have repeatedly failed to do so and, as

a result, have caused FFCC to incur millions of dollars in monetary damages.

       4.      In addition to Defendants’ various defaults, Defendants have also failed to operate

the restaurants for which they obtained the loans from FFCC in a manner that will preserve the

value of FFCC’s collateral.       Indeed, the franchise agreements and/or leases for several

restaurants have been terminated already, and a number of restaurants were closed by

government authorities due to health and safety violations. Thus, FFCC seeks the appointment

of a receiver for the Defendants who will be charged with managing the affairs of the Defendant

entities in a manner that will preserve the value of FFCC’s collateral.

                                            PARTIES

       5.      Plaintiff FFCC is an Indiana corporation. FFCC’s principal place of business is in

Indiana, but it is licensed to do business in Ohio and conducts certain relevant operations out of

Hamilton County, where its parent company is headquartered.

       6.      Defendant Pandya Restaurants is a Pennsylvania limited liability company with

its principal place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Pandya

Restaurant’s sole member is Jignesh N. Pandya, a citizen of Pennsylvania




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       7.     Defendant Ronak is a Pennsylvania limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Ronak’s sole member is

Jignesh N. Pandya, a citizen of Pennsylvania.

       8.     Defendant JNP is a Pennsylvania limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. JNP’s sole member is

Jignesh N. Pandya, a citizen of Pennsylvania.

       9.     Defendant Rakta is a Pennsylvania limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Rakta’s sole member is

Jignesh N. Pandya, a citizen of Pennsylvania.

       10.    Defendant Balaganapati is a New Jersey limited liability company with its

principal place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Balaganapati’s

sole member is Jignesh N. Pandya, a citizen of Pennsylvania.

       11.    Defendant Chaturbhuj is a Pennsylvania limited liability company with its

principal place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Chaturbhuj’s

sole member is Jignesh N. Pandya, a citizen of Pennsylvania.

       12.    Defendant Devadeva is a Pennsylvania limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Devadeva’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.

       13.    Defendant Manomay is a Pennsylvania limited liability company with its

principal place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Manomay’s

sole member is Jignesh N. Pandya, a citizen of Pennsylvania.




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       14.     Defendant Gunina is a Pennsylvania limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Gunina’s sole member is

Jignesh N. Pandya, a citizen of Pennsylvania.

       15.     Defendant Kokomo is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Kokomo’s sole member

is Jignesh N. Pandya, a citizen of Pennsylvania.

       16.     Defendant Greenwood is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Greenwood’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.

       17.     Defendant Shadeland is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Shadeland’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.

       18.     Defendant Madison is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Madison’s sole member

is Jignesh N. Pandya, a citizen of Pennsylvania.

       19.     Defendant Kentucky is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940.         Kentucky’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.

       20.     Defendant Washington is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Washington’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.




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        21.    Defendant 82nd Street is an Indiana limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. 82nd Street’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.

        22.    Defendant Wrightstown is a New Jersey limited liability company with its

principal place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Wrightstown’s

sole member is Jignesh N. Pandya, a citizen of Pennsylvania.

        23.    Defendant Oregon is a Pennsylvania limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Oregon’s sole member

is Jignesh N. Pandya, a citizen of Pennsylvania.

        24.    Defendant Burlington is a New Jersey limited liability company with its principal

place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. Burlington’s sole

member is Jignesh N. Pandya, a citizen of Pennsylvania.

        25.    Defendant Pandya Burgers is an Alabama limited liability company with its

principal place of business at 121 Friends Lane, Suite 301, Newtown, PA 18940. When Pandya

Burgers became a borrower on November 13, 2017, Pandya Burgers had two members: Jignesh

N. Pandya and Bhavin A. Patel, both of whom are citizens of Pennsylvania. On information and

belief, Bhavin A. Patel may have transferred his ownership interests to Jignesh N. Pandya

thereafter.

                                 JURISDICTION AND VENUE

        26.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332, because the

parties are of diverse citizenship and the amount in controversy exceeds $75,000.

        27.    This Court possesses personal jurisdiction over the Defendants because each has

expressly consented to the jurisdiction of this Court.




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       28.     Venue is proper in this Court because, among other things, many of the

contractual obligations that Defendants breached were supposed to be performed in this district,

and Defendants have expressly consented to venue in this district.

                                       BACKGROUND

                                 FFCC’s Loans to Defendants

       29.     On or about October 25, 2016, FFCC and Pandya Restaurants, Ronak, JNP,

Rakta, Balaganapati, Chaturbhuj, Devadeva, Manomay, and Gunina executed a Master Loan

Agreement (the “Loan Agreement”).

       30.     The Loan Agreement was subsequently amended on May 23, 2017; September

20, 2017; and November 13, 2017. By the final amendment, all Defendants had signed the Loan

Agreement, cross-guaranteeing every other Defendants’ representations and warranties and

accepting full responsibility for all obligations thereunder. A true and accurate copy of the Loan

Agreement, as it has been amended and modified from time to time, is attached hereto as Exhibit

A.

       31.     Pursuant to the Loan Agreement, as amended, FFCC issued five loans to the

Defendants for the Defendants’ use in operating approximately seventy restaurant locations in

four states franchised by Pizza Hut®, Checkers®, and Rally’s Hamburgers®.

       32.     Specifically, on or about October 25, 2016, Pandya Restaurants, Ronak, JNP,

Rakta, Balaganapati, Chaturbhuj, Devadeva, Manomay, and Gunina executed and delivered to

FFCC a secured promissory note for Loan No. 820111022/117730 in the original principal

amount of $14,500,000.00 (“Note A”). A true and accurate copy of Note A is attached hereto as

Exhibit B.




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       33.       On May 23, 2017, Pandya Restaurants, Ronak, JNP, Rakta, Balaganapati,

Chaturbhuj, Devadeva, Manomay, Gunina Kokomo, Greenwood, Shadeland, Madison,

Kentucky, Washington, 82nd Street, Wrightstown, Oregon and Burlington executed and

delivered to FFCC another secured promissory note for Loan No. 820111085/117834 in the

original principal amount of $1,750,000.00 (“Note B”). A true and accurate copy of Note B is

attached hereto as Exhibit C.

       34.       On September 20, 2017, Pandya Restaurants, Ronak, JNP, Rakta, Balaganapati,

Chaturbhuj, Devadeva, Manomay, Gunina Kokomo, Greenwood, Shadeland, Madison,

Kentucky, Washington, 82nd Street, Wrightstown, Oregon and Burlington executed and

delivered to FFCC a third secured promissory note for Loan No. 820113332/117863 in the

original principal amount of $600,000.00 (“Note C”). A true and accurate copy of Note C is

attached hereto as Exhibit D.

       35.       On November 13, 2017, all Defendants executed and delivered to FFCC two more

secured promissory notes: one for Loan No. 117631 in the original principal amount of

$1,600,000.00 (“Note D”), and one for Loan No. 117632 in the original principal amount of

$1,100,000.00 (“Note E,” and collectively with Notes A-D, the “Notes”). True and accurate

copies of Note D and Note E are attached hereto as Exhibits E and F, respectively.

       36.       In total, FFCC loaned Defendants $19,550,000.00 in original principal pursuant to

the Loan Agreement—as originally executed and then amended or modified from time to time—

and the Notes.

                                       The Loan Agreement

       37.       Each Defendant “promise[d] to pay and to perform, observe and comply with

when due all of the Obligations” set forth in the Loan Agreement.




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       38.     The Loan Agreement defined Events of Default to include, among other things,

any Defendant’s failure to pay any interest or principal owed pursuant to the Loan Agreement;

any Defendant’s failure to observe, comply with, or perform any other covenant, condition or

agreement set forth in the Loan Agreement; or any event that has, or could be reasonably

expected to have, any material adverse effect upon the business or operations of any Defendant,

that materially impairs any Defendant’s ability to perform its obligations under the Loan

Agreement, that has any material adverse effect upon the title to or value of any collateral

pledged by the Defendants pursuant to the Loan Agreement, or that materially impairs or delays

FFCC’s ability to enforce the Loan Agreement or collect on the obligations owed thereunder.

       39.     In the event of default, the Loan Agreement afforded FFCC broad discretion to

exercise the various remedies available to it, including declaring all loan obligations immediately

due and payable upon demand; taking immediate possession of any collateral, wherever located;

collecting, compromising, taking or otherwise dealing with the collateral and proceeds thereof in

FFCC’s own name; and selling or otherwise disposing of all or any part of the collateral

supporting the loan.

       40.     In addition, the Loan Agreement expressly stated that, should an Event of Default

occur, FFCC had the right to “[p]etition for and obtain the appointment of a receiver, without

notice of any kind whatsoever or obtaining any bond, to take possession of any or all of” the

collateral pledged by Defendants pursuant to the Loan Agreement, and “to exercise such rights

and powers as the court appointing such receiver shall confer upon such receiver.”

       41.     Indeed, the Defendants acknowledged “that portions of the Collateral could be

difficult to preserve and dispose of and be further subject to complex maintenance and

management,” and, as a result, agreed that FFCC “shall have the widest possible latitude to




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preserve and protect the” collateral pledged by Defendants, as well as FFCC’s “security interest

in and Lien thereon.”

                  Defendants Default and Execute a Forbearance Agreement

       42.     By December 2018, Defendants had fallen out of compliance with the Loan

Agreement.

       43.     Among other things, Defendants had failed to make payments when and as

required by the Loan Agreement and the Notes.

       44.     Thus, on December 5, 2018, FFCC notified the Defendants by letter that they had

defaulted on their respective obligations.

       45.     In its December 5, 2018 default notice to the Defendants, FFCC also exercised its

right under the Loan Agreement to accelerate all obligations owed.

       46.     Thereafter, the Defendants negotiated an agreement with FFCC by which FFCC

agreed to temporarily refrain from seeking certain remedies available to it in order to afford the

Defendants additional time to satisfy their respective obligations (the “Forbearance Agreement”).

FFCC and the Defendants executed the Forbearance Agreement on or about December 31, 2018.

       47.     Pursuant to the Forbearance Agreement, the Defendants were supposed to

continue paying interest on the outstanding loans, provide information pertaining to the operation

of the various restaurants funded by those loans and the corresponding franchise relationships,

and take certain steps toward selling the restaurants and franchises, among other things.

       48.     In return for Defendants’ complete compliance with the conditions set forth in the

Forbearance Agreement, FFCC agreed not to initiate any action or prosecute any claims pursuant

to the Loan Agreement until the earlier of April 9, 2019 or the occurrence of a defined




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terminating event, such as the Defendants failing to comply with any term or condition of the

Forbearance Agreement or Loan Agreement.

                      Defendants Breach the Forbearance Agreement and
                                  FFCC Demands Payment

       49.     By January 15, 2019, just fifteen days after the execution of the Forbearance

Agreement, the Defendants were already out of compliance with the Forbearance Agreement,

having failed to make the necessary payments or provide the necessary information.

       50.     Thus, on January 15, 2019, FFCC sent a second notice of default informing the

Defendants of their breaches, terminating the Forbearance Agreement, and declaring FFCC’s

intent to exercise its rights under the Loan Agreement.

       51.     To that end, FFCC demanded from the Defendants payment of all outstanding

obligations in immediately available funds.

       52.     A month later, the Defendants still had not satisfied their obligations under the

Loan Agreement.

       53.     As such, on February 15, 2019, FFCC sent a third and final notice of default and

demand for payment.

       54.     In its February 15, 2019 letter, FFCC set forth Defendants’ growing list of

defaults, which by then also included the filing of one or more lawsuits against certain of the

Defendants by the landlords of various restaurant locations.

       55.     As of the date of that February 15, 2019 demand letter, the Defendants were

indebted to FFCC in an amount not less than $18,013,415.27, plus interest that continues to

accrue at the default rate of interest set forth in the Notes and all other amounts due and payable

under the terms of the Loan Agreement, such as attorneys’ fees and other costs of collection.




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                         Defendants Fail to Preserve FFCC’s Collateral

       56.     FFCC has come to learn that Defendants have failed to operate the restaurants that

were funded by the Loan Agreement in a manner that preserves the value of FFCC’s collateral,

and its ability to execute on and collect that collateral without delay.

       57.     For example, according to news publications, several of the restaurants operated

by Defendants have been closed by the applicable state government entities due to health and

safety issues created by Defendants’ mismanagement of those restaurants.

       58.     In addition, Checkers® and Rally’s Hamburgers® have terminated Defendants’

franchise agreements for some or all of the twenty-seven restaurants that Defendants operated in

Indiana, Alabama, Pennsylvania and New Jersey.

       59.     Although approximately forty Pizza Hut® restaurants remain in operation, FFCC

has reason to believe that if a receiver is not appointed immediately to take control of Defendants

and their assets, those restaurants may also be closed or effectively managed out of existence by

Defendants.

                           COUNT I – BREACH OF CONTRACT
                       (Breach of Loan Agreement Against Defendants)

       60.     FFCC incorporates the foregoing allegations as though fully restated herein.

       61.     The Loan Agreement constitutes a binding and enforceable contract that was

executed by Defendants in favor of FFCC.

       62.     FFCC has performed all of its obligations in connection with the

Loan Agreement.

       63.     Defendants, however, have failed and refused to comply with their obligations

under the Loan Agreement by, among other things, failing to make payments when and in the

amounts required, and failing to provide required information.



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       64.     Defendants’ failure and refusal to comply with their obligations under the Loan

Agreement constitute breaches of the Loan Agreement.

       65.     FFCC has demanded that Defendants rectify their ongoing breaches and

reimburse or pay FFCC for the damages FFCC has incurred, but Defendants have failed and

refused to do so and remain in violation of the Loan Agreement.

       66.     As a result of Defendants’ breaches of the Loan Agreement, FFCC has incurred in

excess of $18,000,000.00 in damages.

             COUNT II – PREJUDGMENT APPOINTMENT OF RECEIVER

       67.     FFCC incorporates the foregoing allegations as though fully restated herein.

       68.     Pursuant to the Loan Agreement, Defendants agreed that in the event of a default

FFCC would have the right to petition for and obtain the appointment of a receiver, without

notice of any kind whatsoever or obtaining any bond, to take possession of any or all of the

collateral and business of each Defendant and to exercise such rights and powers as the court

appointing such receiver shall confer upon such receiver. (Loan Agreement, § 8.2(a)(vii)).

       69.     The Defendants specifically acknowledged that portions of the collateral pledged

by Defendants pursuant to the Loan Agreement could be difficult to preserve and dispose of and

be further subject to complex maintenance and management, and that, as a result, FFCC shall

have the widest possible latitude in exercising its rights to preserve and protect such collateral,

and FFCC’s security interest in and lien on the same.

       70.     There have been multiple events of default under the Loan Agreement, including,

among other things, Defendants’ failure to make timely loan payments, the commencement of

litigation against certain of the Defendants by the landlords of their restaurants, the termination




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of certain franchise agreements, and the closure of a number of the restaurants that were to be

funded by the Loan Agreement.

       71.       Defendants have not taken—and are not taking—reasonable steps to preserve the

value of FFCC’s collateral or to protect FFCC’s ability to execute on and collect that collateral

without delay.

       72.       In fact, Defendants’ operation of the restaurants has accelerated depreciation in

value of FFCC’s collateral.

       73.       Accordingly, FFCC requires the appointment of a receiver who will assume

control of the operation of Defendants and their assets.

       WHEREFORE, plaintiff First Franchise Capital Corporation respectfully demands

judgment against defendants Pandya Restaurants LLC; Ronak Foods, LLC.; JNP Foods, LLC;

Sri Rakta LLC; Sri Balaganapati Limited Liability Company; Sri Chaturbhuj LLC; Sri Devadeva

LLC; Sri Manomay LLC; Sri Gunina, LLC; 401 Kokomo, LLC; 839 Greenwood, LLC; 1520

Shadeland, LLC; 2950 Madison, LLC; 3605 Kentucky, LLC; 3807 Washington, LLC; 6742 82nd

ST, LLC; Wrightstown Burgers LLC; 2008 W Oregon Ave, LLC; 2105 Burlington, LLC; and

Pandya Burgers of Alabama LLC as follows:

                 A. Enter judgment against Defendants, jointly and severally, and in favor of

                    FFCC on FFCC’s claim for breach of the Loan Agreement;

                 B. Award FFCC compensatory damages for its claims against Defendants in an

                    amount to be proven at trial;

                 C. Appoint a receiver to take possession and control of Defendants and their

                    assets and for such other purposes as may be set forth in any order appointing

                    such receiver;




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            D. Award FFCC prejudgment interest;

            E. Award FFCC the cost and expenses incurred in litigating this action;

            F. Award FFCC its reasonable attorneys’ fees; and

            G. Award FFCC such other relief as this Court deems just and proper.

                                         Respectfully submitted,

                                         /s/ David F. Hine                            .
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